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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


 SPIRE GLOBAL, INC.,
                                                    C.A. No. 1:25-cv-00168-GBW
                               Plaintiff,

                 v.

 KPLER HOLDING SA,

                               Defendant.



                          [PROPOSED] ORDER GRANTING KPLER
                             HOLDING SA’S MOTION TO SEAL

           WHEREAS, defendant Kpler Holding SA (“Kpler”) having filed a Motion to File Under

 Seal Defendant’s Answer to the Complaint, and good cause having been shown for the relief

 sought,

           NOW, THEREFORE, IT IS HEREBY ORDERED this ________ day of March, 2025, that

 the Motion to Seal is GRANTED. Defendant’s Answer to the Complaint shall be sealed pursuant

 to Federal Rule of Civil Procedure 5.2 and Local Rule of Civil Practice and Procedure 5.1.3, and

 subject to the submission of a redacted version pursuant to the Court’s Administrative Procedures

 Governing Filing and Service by Electronic means within seven (7) days of this Order.



                                             __________________________________________
                                             THE HON. GREGORY B. WILLIAMS
                                             DISTRICT JUDGE
                                             UNITED STATES DISTRICT COURT
                                             DISTRICT OF DELAWARE
